On September 13, 1978, plaintiffs-appellees, Ohio Association of Public School Employees et al.1 (OAPSE or appellees), brought an action for injunctive relief in the Court of Common Pleas of Cuyahoga County, against defendant, the Cleveland City Board of Education (Board). The complaint alleged that OAPSE was the authorized bargaining *Page 102 
agent for the clerical employees in the Cleveland School District and sought an order of the court enjoining the Board from bargaining and entering into an agreement over wages, hours, and working conditions with defendant-intervenor, Service, Hospital, Nursing Home and Public Employees Union, Local 47 (Local 47 or appellant). The complaint further sought an order by the court requiring that an election be held between OAPSE and Local 47 to determine the bargaining representative of clerical employees below the position of chief clerk in the Cleveland School District.
On November 20, 1978, and August 3, 1979, hearings were held on appellees' complaint.
In January 1980, the Board filed a separate complaint against OAPSE seeking a temporary restraining order and injunction prohibiting OAPSE and two local chapters, 726 and 718, from continuing an alleged illegal strike against the Board.2
On January 22, 1980, the trial court issued a written order which (1) contained six specific findings relating to appellees' complaint for an injunction (appellees' complaint, September 13, 1978)3; (2) granted the Board's request for a temporary *Page 103 
restraining order prohibiting local chapters of OAPSE from engaging in a strike against the Board (Board's complaint, January 1980); and (3) ordered the Board to conduct an election within sixty days to determine the bargaining representative of the clerical employees (appellees' complaint, September 13, 1978).
Appellant subsequently filed a timely notice of appeal and raises four assignments of error. For reasons adduced below the judgment is reversed and the complaint dismissed.
                                   I. Assignments of Error Nos. 1, 2, and 3:
"1. The trial court erred in ordering the Board of Education to conduct an election to determine the bargaining representative of clerical employees, where Plaintiffs failed to present evidence that representation by the incumbent labor organization is `clearly and convincingly foreign to [the] interest[s]' of clerical employees.
"2. The trial court erred in ordering the Board of Education to sever the clerical employees from a broader, more comprehensive bargaining unit recognized for many years by the Board of Education, where the clerical employees are being fully and fairly represented by the incumbent labor organization that represents all of the employees in the broader, more comprehensive bargaining unit.
"3. The trial court erred in ordering the Board of Education to conduct an election to determine the bargaining representative of clerical employees, where only 40% of the clerical employees have purportedly shown support for the Plaintiff labor organization."
These assignments of error are interrelated and raise the same issue. They are treated together.
                                   II.
The issue is whether a trial court may use its equity power and order an election between two labor organizations to determine the bargaining representative for clerical employees of the Cleveland School Board where one labor organization (Local 47) is already established and recognized by the Board as the bargaining agent.
                                  III.
In Civil Service Personnel Assn. v. Akron (1976), 48 Ohio St.2d 25, *Page 104 
the Ohio Supreme Court announced the standard for testing the right of an employer to change recognition of a representative for collective bargaining by public employees. The court said:
"This court has recently recognized the right of public employees, under appropriate circumstances, to bargain collectively. See Dayton Teachers Assn. v. Dayton Bd. of Edn.
(1975), 41 Ohio St.2d 127, 323 N.E.2d 714. That right cannot be effectively eliminated for a significant number of such employees through the employer's selection of a bargaining representative that is clearly and convincingly foreign to their interest." Id., at 28.
The import of this holding is that changes in bargaining representation, by whatever means, are justified only when the existing representation is "clearly and convincingly foreign to their [the public employees'] interest". It follows that a court-ordered representation election is justified in this case only if the requisite finding is made and is supported by the evidence.
                                   IV.
There is no dispute that Local 47 is the recognized bargaining representative for the clerical employees of the Cleveland School Board. The trial court's evaluation was limited therefore to a determination of whether appellant's representation was "foreign" to the interest of these employees. To this end, appellees presented the testimony of three clerical employee members of OAPSE. In sum, their testimony revealsonly that they were dissatisfied with the representation by appellant and sought to get other clerical employees to endorse OAPSE as their bargaining representative.
It is not clear from the record that other clerical employees were equally dissatisfied with the appellant. For the record is replete with unchallenged evidence demonstrating that Local 47's representation achieved significant wage increases and benefits exclusively for clerical employees. Evidence in this stance fails to demonstrate that appellant's representation was "clearly and convincingly foreign to [the clerical employees'] interest".
In addition, the opinion of the trial court demonstrates it failed to apply the test stated in Civil Service Personnel Assn.
v. Akron, supra. It made no finding that appellant's representation *Page 105 
was foreign to the interest of appellee clerical employees (see footnote 3, supra). Thus, the trial court had no basis for ordering an election.
Accordingly, Assignments of Error Nos. 1, 2, and 3 are well taken.
                                   V. Assignment of Error No. 4:
"4. The trial court erred in admitting into evidence the approximately 330 authorization cards purportedly signed by clerical personnel, where the overwhelming majority of the cards were received through the mails and Plaintiffs were able to verify and authenticate the signatures on only three of the cards."
Appellees placed in evidence 330 authorization cards allegedly signed by clerical employees desiring a change in their bargaining representative.
It is axiomatic that records or documents may not be admitted in evidence without authentication. In the present case, only
three employees testified and identified their signatures. No proof was offered by appellees which demonstrated the other signatures were those of clerical employees. Indeed, a review of the record shows that the procedure employed by appellees to acquire these signatures did not lend itself to verification. It was error to receive the cards as evidence of employee intent.
Assignment of Error No. 4 is well taken.
                                   VI.
The judgment is reversed and the complaint dismissed.
Judgment reversed.
KRUPANSKY, J., concurs.
1 The plaintiffs included OAPSE Chapter 726 and its elected officers, Gertrude Cole, Claudette Moore, Samella McWhorter, and Mary Kirschner.
2 This second complaint was filed in the same case, number 989142, OAPSE et al. v. Cleveland City Board of Edn. et al.
3 The trial court found that:
"1. The existing agreement between the Cleveland City Board of Education and the Service, Hospital, Nursing Home and Public Employees Union, Local 47, can not operate in perpetuity.
"2. The employees of the Cleveland City Board of Education can, at any time, pursue the equitable rights available to them for the purpose of determining their bargaining agent by properly presenting their request in accordance with the rules and regulations of said Board.
"3. The plaintiffs herein have so properly presented their request for recognition to the Board of Education.
"4. The Cleveland City Board of Education has refused to recognize the Ohio Association of Public School Employees, Chapter 726, as the bargaining agent of the group of clerical workers below the position of chief clerk seeking such recognition, and based upon the evidence presented to this Court, has not ordered an election to be held.
"5. Plaintiffs herein have presented sufficient showing of interest by the clerical employees in having Ohio Association of Public School Employees represent them as their sole and exclusive bargaining agent.
"6. It is within the equity power of this Court to order the defendant Cleveland City Board of Education to hold an election to determine who shall be the sole and exclusive bargaining agent of the clerk employees below the position of chief clerk of the Cleveland City Board of Education."